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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO


 SERVICIOS LEGALES      DE    PUERTO
 RICO, INC.,

      Plaintiff,
                                           Civil No. 19-1379 (FAB)
                  v.

 UNIÓN      INDEPENDIENTE      DE
 TRABAJADORES     DE    SERVICIOS
 LEGALES, et al.,

      Defendants.


                        MEMORANDUM AND ORDER
BESOSA, District Judge.

     On April 22, 2019, plaintiff Servicios Legales de Puerto Rico,

Inc. (“SLPR”) filed a verified complaint (Docket No. 1) and moved

for a temporary restraining order (“TRO”) against defendant Unión

Independiente de Trabajadores de Servicios Legales (“Union”) and

any other persons in active concert or participation with the Union

(collectively, “defendants”) pursuant to Federal Rule of Civil

Procedure 65(b) (“Rule 65(b)”).        (Docket No. 4.)   For the reasons

set forth below, the Court DISMISSES SLPR’s verified complaint

without prejudice (Docket No. 1) and renders SLPR’s TRO motion

(Docket No. 4) as MOOT.

I.   Background

     SLPR and the Union are parties to a collective bargaining

agreement   (“CBA”)    that   governs     SLPR’s   employees     who   are
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represented by the Union.        (Docket No. 6, Ex. 2.)       The CBA is in

force until April 30, 2019.         Id. at p. 9.      Article 7 of the CBA

requires that “[a]ll controversies, disputes, and complaints based

on the application or interpretation of the provisions of [the

CBA]” be resolved through mandatory grievance and arbitration

procedures.    Id. at p. 3.     Pursuant to Article 8 of the CBA,

      The Union, therefore, agrees that neither it nor any of
      the SLPR’s workers who are part of the bargaining unit
      covered by [the CBA] may, collectively, individually, or
      in concert, dedicate and/or participate, directly or
      indirectly, in strikes of any nature, slow-down,
      interruption or work stoppage, picketing, boycott, or
      any other kind of interference and/or interruption of
      SLPR’s operations and activities, of any Direct Service
      Center, division, office, warehouse, work unit or
      special detachment of it.

Id. at p. 8.

      On April 22, 2019, SLPR filed a verified complaint to “enjoin

defendants’ and employees’ acts that interfere with plaintiff’s

operation and other acts that violate” the CBA, pursuant 29 U.S.C.

sections 185(a) and 187.        (Docket No. 1 at p. 1.)1        The verified

complaint maintains that on April 22, 2019, the Union announced it

would commence a work stoppage           to protest the treatment and

termination of workers by SLPR.          (Docket No. 1 at p. 4.)          SLPR

alleges that the Union work stoppage commenced on April 22, 2019




1 The Court has federal question jurisdiction to address SLPR’s claims pursuant
to 28 U.S.C. section 1331.
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at 1:00 p.m. at SLPR centers in Ponce and Guayama, Puerto Rico.

(Docket No. 4 at pp. 1-2.)       According to the verified complaint,

the Union President listed SLPR’s alleged mistreatment of workers,

burdensome job conditions, and employment terminations as reasons

for the work stoppage.      (Docket No. 1 at p. 4.)          The verified

complaint states that “SLPR has requested that the Union cease and

desist from the activities in question, and publicly call off the

sit-in and work stoppage, and resolve all disputes arising under

the [CBA] by way of the mandatory grievance and arbitration

procedure contained in Article 7 of the [CBA].”        Id.   The verified

complaint contends that SLPR “has resorted to every procedure

available under the [CBA] to resolve all arbitrable disputes in

order to avoid the need to seek the intervention of the Court,”

but that “the Union has refused, and continues to refuse, to end

its unlawful actions.”     Id.

     Pursuant to the verified complaint, “the delays incident to

securing relief from the conduct at issue will result in grave and

irreparable damages to SLPR’s services before such relief can be

obtained.”   (Docket No. 1 at p. 5.)    Namely, the verified complaint

maintains that,

     [a]s a direct consequence of defendants’ unlawful
     concerted activities, SLPR will suffer permanent and
     irreparable damage and injury in the form of lost
     goodwill, diminished customer confidence with regards to
     prompt   and  efficient   customer   service,   probable
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      permanent loss of customers, diminished volume of
      business, loss of revenue, and insurance claims. These
      losses are estimated to be $25,000 a day.

Id.   SLPR alleges that it “has no adequate remedy at law for the

injuries already caused and the threat of further injury by

defendants’ illegal conduct.”        Id. at p. 6.

II.   Legal Standard

      Pursuant to 29 U.S.C. section 185(a), a federal district court

may enjoin a concerted activity based on a dispute that is subject

to arbitration through a valid CBA.          Boys Mkts., Inc. v. Retail

Clerks Union, Local 770, 398 U.S. 235, 254 (1970).          In the context

of CBA violations,

      [t]hree prerequisites for obtaining injunctive relief
      must be met: (1) the [CBA] must contain mandatory
      arbitration procedures; (2) the strike to be enjoined
      must be over an arbitrable grievance; and (3) “ordinary
      principles of equity” must warrant the injunctive
      relief.

Int’l Detective Serv., Inc. v. Int’l Bhd. of Teamsters, Chauffeurs,

Warehousemen & Helpers of Am., Local 251, 614 F.2d 29, 31 (1st

Cir. 1980) (citing Boys Mkts., 398 U.S. at 253-54).              Courts may

enjoin    such   concerted    activity   because    “[s]triking    over   an

arbitrable dispute would interfere with and frustrate the arbitral

processes by which the parties had chosen to settle a dispute.”

Buffalo Forge Co. v. United Steelworkers of Am., AFL-CIO, 428 U.S.

397, 407 (1976); see Int’l Detective Serv., 614 F.2d at 31-32
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(upholding an injunction prohibiting the union from engaging in

concerted activities over an arbitral dispute pursuant to a valid

CBA).

     A TRO “is a provisional remedy imposed to maintain the status

quo until a full review of the facts and legal arguments is

available.”    Ginzburg v. Martínez-Dávila, -- F. Supp. 3d --, 2019

WL 1380156, at *2 (D.P.R. Mar. 26, 2019) (Besosa, J.) (quoting

Pro-Choice Network v. Schenck, 67 F.3d 377, 389-99 (2d Cir. 1995)).

The standard for issuing a TRO is “the same as for a preliminary

injunction.”     Bourgoin v. Sebelius, 928 F. Supp. 2d 258, 267 (D.

Me. 2013).     Preliminary injunctive relief relies on the following

four factors:

     (i) the likelihood that the movant will succeed on the
     merits;   (ii)  the   possibility  that,   without   an
     injunction, the movant will suffer irreparable harm;
     (iii) the balance of relevant hardships as between the
     parties; and (iv) the effect of the court's ruling on
     the                  public                   interest.

Coquico, Inc. v. Rodríguez-Miranda, 562 F.3d 62, 66 (1st Cir. 2009)

(citation omitted).

     “A preliminary injunction is an extraordinary and drastic

remedy that is never awarded as of right.”        Peoples Fed. Sav. Bank

v. People’s United Bank, 672 F.3d 1, 8-9 (1st Cir. 2012) (citation

omitted).     Granting a preliminary injunction or TRO is “a matter

for the discretion of the district court and is reversible, of
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course, only for an abuse of discretion.”                          Planned Parenthood

League of Mass. v. Bellotti, 641 F.2d 1006, 1009 (1st Cir. 1981)

(citation     omitted).           The    plaintiff       shoulders    the   burden    of

establishing whether a TRO is warranted.                   Peoples Fed. Sav. Bank,

672 F.3d at 9.

III. Discussion

      Several       internal      inconsistencies         between    SLPR’s   verified

complaint and TRO motion reveal that both filings were entirely

copied     and    pasted    from        the    amended    verified     complaint     and

memorandum of law submitted in P.R. Tel. Co. v. Unión Indep. de

Empleados        Telefonicos,      No.        10-1054    (D.P.R.     Jan.   27,   2010)

(Domínguez, J.).          Compare Docket Nos. 1 & 4 with P.R. Tel. Co.,

No. 10-1054, Docket No. 1 & Docket No. 1, Ex. 1.                        SLPR’s motion

for a TRO names the “Puerto Rico Telephone Co.” instead of SLPR in

several locations throughout the legal memorandum (Docket No. 4 at

pp.   2   &   9),   and    many    portions       of    SLPR’s   pleadings    describe

qualities or harms relevant to a corporate business entity, rather

than a legal services provider.                 See Docket No. 1 at p. 5.

      Like the other portions of SLPR’s filings, the statement of

facts and irreparable harm alleged in SLPR’s verified complaint

and TRO motion are nearly verbatim copies of the facts and injuries

alleged in P.R. Tel. Co., No. 10-1054, Docket No. 1 & Docket No.

1, Ex. 1.     For example, SLPR’s verified complaint states that SLPR
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will suffer     irreparable    harm “in the form of lost goodwill,

diminished     customer   confidence     with    regards   to   prompt   and

efficient customer service, probable permanent loss of customers,

diminished volume of business, loss of revenue, and insurance

claims.”     (Docket No. 1 at p. 5.)            Not only is this language

identical to that used in P.R. Tel. Co., No. 10-1054, Docket No.

1, but also the description reflects potential injuries to a

corporate business entity, not a legal services provider.

         The Court declines to overlook these flagrant errors and

refuses to rely on the veracity of the facts and harm alleged in

SLPR’s submissions.       This attorney work product is unacceptable,

demonstrates a lack of professionalism on the part of counsel and

the firm that employs him, and undermines the integrity of the

Court.   Accordingly, the Court DISMISSES SLPR’s verified complaint

without prejudice (Docket No. 1) and renders SLPR’s TRO motion

(Docket No. 4) as MOOT.
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IV.   Conclusion

      For the reasons set forth above, SLPR’s verified complaint

(Docket No. 1) is DISMISSED WITHOUT PREJUDICE, and SLPR’s motion

for a TRO (Docket No. 4) is MOOT.

      IT IS SO ORDERED.

      San Juan, Puerto Rico, April 25, 2019.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
